       Case 5:21-cv-00616-PRW            Document 1       Filed 06/15/21      Page 1 of 15




                              UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF OKLAHOMA

JONATHAN RIVERA-PIEROLA,

                         Plaintiff,
                                                      Civil Action No.:    CIV-21-616-PRW
       v.

BOARD OF REGENTS FOR THE
OKLAHOMA AGRICULTURAL AND                             COMPLAINT
MECHANICAL COLLEGES; STATE OF                         (Jury Demanded)
OKLAHOMA ex rel. OKLAHOMA STATE
UNIVERSITY; and ST. MATTHEWS
UNIVERSITY,

                      Defendants.


       COMES NOW, Plaintiff JONATHAN RIVERA-PIEROLA (“Plaintiff” or “Mr. Rivera-

Pierola”), by and through his undersigned attorneys, and hereby complains and alleges against the

above-named Defendants, based upon knowledge, information and a reasonable belief derived

therefrom, as follows:

                                        INTRODUCTION

       Mr. Rivera-Pierola seeks damages and injunctive relief for breaches of contract by the

BOARD OF REGENTS FOR THE OKLAHOMA AGRICULTURAL AND MECHANICAL

COLLEGES (the “BOARD”), STATE OF OKLAHOMA, ex rel. OKLAHOMA STATE

UNIVERSITY (“OSU,” and together with the Board, the “OSU DEFENDANTS”), ST.

MATTHEW’S UNIVERSITY (“SMU”) that occurred while Mr. Rivera-Pierola was an SMU

veterinary student completing clinical rotations at OSU’s College of Veterinary Medicine

(“CVM”). Mr. Rivera-Pierola was subject to arbitrary and discriminatory treatment during a

rotation, subject to false accusations of lying and dishonestly and penalized in his grading without

opportunity to defend himself, and then, following a virtual rotation that failed to provide promised


                                                 1
       Case 5:21-cv-00616-PRW           Document 1       Filed 06/15/21      Page 2 of 15




instruction for the scheduled length of time, dismissed from OSU and ultimately from SMU as

well. These actions were in breach of Mr. Rivera-Pierola’s contracts with OSU and SMU.

Accordingly, he now petitions this Court for redress in the form of injunctive relief, damages, and

costs for breach of contract.

                                           PARTIES

        1.      Plaintiff, JONATHAN RIVERA-PIEROLA, is a citizen of Florida. At all times

relevant herein, Mr. Rivera-Pierola was a qualified student in good standing at OSU’s CVM Year

IV clinical program in Stillwater, Oklahoma.

        2.      Defendant, STATE OF OKLAHOMA, ex rel. OKLAHOMA STATE

UNIVERSITY, has its principal place of business in Oklahoma.            Defendant, BOARD OF

REGENTS FOR THE OKLAHOMA AGRICULTURAL AND MECHANICAL COLLEGES,

supervises, manages, and controls OSU. The Board establishes all general policies affecting OSU

and prescribes rules and regulations as may bring these policies into effect. The Board delegates

executive power to the presidents of the institutions and their authorized administrators, retains

approval power over decisions made thereto. OSU Defendants operate the CVM Year IV clinical

program in Stillwater, Oklahoma.

        3.      Defendant, ST. MATTHEW’S UNIVERSITY, is a for profit university chartered

and operating a School of Veterinary Medicine in Grand Cayman, Cayman Islands. SMU’s

administrative offices that handle applications and communications with students are located in

the state of Florida.

        4.      SMU has an affiliation agreement in place with the OSU CVM clinical program,

whereby SMU pays OSU to provide the SMU clinical program to SMU students and SMU students




                                                2
       Case 5:21-cv-00616-PRW             Document 1        Filed 06/15/21       Page 3 of 15




become vested with certain rights and responsibilities imparted to all OSU students upon

matriculation to the CVM Year IV clinical program.

        5.      SMU also remains liable for SMU students, who remain enrolled in SMU, as the

contractual relationship between SMU and its students remain intact while those students are

enrolled in OSU’s CVM Year IV program.

        6.      At all times relevant hereto, and in all the actions described herein, Defendants’

actions took place in the State of Oklahoma, County of Payne unless otherwise noted.

                                          JURISDICTION

        7.      This Court has jurisdiction over the claims set forth in this action pursuant to 28

U.S.C. § 1332 (diversity of citizens) because the parties are diverse and the amount in controversy

exceeds $75,000.00.

        8.      Venue in this jurisdiction is proper pursuant to 28 U.S.C. § 1391(b), as Defendants

are located in this District or have significant contacts to this District, and all of the events giving

rise to Plaintiff’s claims occurred therein.

        9.      All conditions precedent to the maintenance of this suit and Plaintiff’s claims have

occurred, been performed or otherwise waived.

                                GENERAL FACTUAL ALLEGATIONS

        10.     Mr. Rivera-Pierola matriculated to SMU in 2017 and attended the veterinary

program at SMU's Cayman Islands campus while he completed the classroom courses necessary

to advance to Year IV status.

        11.     Following completion of his classroom courses, Mr. Rivera-Pierola was enrolled

in clinical rotations at OSU in the CVM Year IV program, as an affiliate SMU student.




                                                   3
       Case 5:21-cv-00616-PRW            Document 1        Filed 06/15/21     Page 4 of 15




       12.     As an affiliate student, Mr. Rivera-Pierola became vested with certain rights and

responsibilities imparted to all OSU students, pursuant to OSU’s College of Veterinary Medicine

Student Handbook (the “OSU Handbook”).

       13.     SMU promises to provide oversight to SMU students in clinical rotations, and pays

its clinical sites, including OSU, to provide the required clinical program to SMU students, in

accordance with SMU guidelines.

       14.     In September 2019, shortly after Mr. Rivera-Pierola started his rotations at OSU,

his father experienced significant medical issues and a related serious car accident.

       15.     Mr. Rivera-Pierola is quite close with his father, and this terrible accident and his

father’s health, which was hanging in the balance, naturally caused a significant impact on him.

       16.     He was a thousand miles away from his father, while also trying to navigate his

very first clinical rotation experience in veterinary school. While his preceptors noted he had

sufficient knowledge to pass the rotation, the situation with his father impacted his performance

with respect to patient care responsibilities and led to a poor outcome in his first rotation. Mr.

Rivera-Pierola was required to repeat the rotation at a later date.

       17.     Once the situation with his father resolved, Mr. Rivera-Pierola returned to his

previous level of performance and completed the next several months of rotations without issue.

       18.     In February 2020, Mr. Rivera-Pierola began his Community Practice rotation and

right from the beginning, he observed that he, as a Latino male student, and the other male student

in the rotation were being singled out for extra scrutiny and unwarranted and unduly harsh

criticism from the preceptors compared to the other, female students in the rotation.

       19.     Throughout the rotation, the preceptors, Dr. Lara Sypniewski (“Dr. Sypniewski”)

and Dr. Paul DeMars (“Dr. DeMars”), made numerous, baseless allegations against him and




                                                  4
       Case 5:21-cv-00616-PRW           Document 1        Filed 06/15/21      Page 5 of 15




frequently accused him of lying, though he had simply followed instructions and abided by course

guidelines.

       20.     For example, he was told to review a dog’s blood work and call the owner to

confirm the dog could take her medication so long as two specific lab values were normal. While

there were minor abnormalities in the dog’s bloodwork, those particular lab values came back

normal. Mr. Rivera-Pierola therefore followed instructions and left a message for the owner

confirming the dog could take her medication.

       21.     The following day, Dr. Sypniewski baselessly accused Mr. Rivera-Pierola of

concluding the blood work was entirely normal and inappropriately informing the owner of the

same. Later, in Mr. Rivera-Pierola’s final evaluation meeting, Dr. Sypniewski exaggerated this

accusation further, yelling at him that the dog could have died as a result of the blood work.

       22.     Mr. Rivera-Pierola had in fact spotted the other minor abnormalities, but, per

instructions, did not address the full results with the owner. He later confirmed with other

preceptors that the abnormalities were not immediately significant and the dog was not in need of

critical care. Nor did Dr. Sypniewski, on seeing the blood work, require the dog to return or advise

the owner to seek immediate critical care.

       23.     Dr. Sypniewski then told Mr. Rivera-Pierola to call the friend of the owner, who

had brought the dog in, since the owner had not been reached, but claimed she did not have his

contact information. The friend’s contact information also was not in the system and thus Mr.

Rivera-Pierola was unable to reach the friend. However, a later note in the communication log

indicated Dr. Sypniewski did in fact have the friend’s number

       24.     Several days later, before a spay surgery, Dr. Sypniewski asked Mr. Rivera-Pierola

about how many spays he had done and his experience. He truthfully answered he had done three




                                                 5
       Case 5:21-cv-00616-PRW           Document 1       Filed 06/15/21      Page 6 of 15




or four with assistance, and it had been 8 months since his last one and he was therefore quite

nervous. Dr. Sypniewski then assisted him through the surgery.

       25.     Following surgery, Dr. Sypniewski and Dr. DeMars pulled him into a meeting and

Dr. Sypniewski falsely accused him of failing to tell her about his lack of experience. Further, in

his final evaluation, she again accused him of lying about his experience and criticized him for

being “overconfident” as a result of this episode.

       26.     On another day, Mr. Rivera-Pierola finished his inpatient duties by the 7:30 am

deadline set out in the Community Practice rotation expectations sheet he had been provided.

However, Dr. Sypniewski nonetheless accused him of neglecting patient care, insisting the

deadline was 7:15am and refusing to listen to Mr. Rivera-Pierola’s explanation.        In the final

evaluation, Dr. Sypniewski falsely asserted that Mr. Rivera-Pierola failed to complete rounds by

7:30am.

       27.     The day after that incident, Dr. Sypniewski accused Mr. Rivera-Pierola of having

completed discharge notes that indicated a dog’s orthopedic exam was normal. However, Mr.

Rivera-Pierola had in fact correctly noted in his discharge notes that abnormalities were found on

the exam.

       28.      In another case, Dr. Sypniewski criticized Mr. Rivera-Pierola for providing the

wrong vaccination booster date to an owner. However, Mr. Rivera-Pierola was simply providing

the information based on what was already in the file and it was a student in a prior rotation that

had apparently recorded the date incorrectly, something Mr. Rivera-Pierola had no way of

knowing.

       29.     Dr. Sypniewski and Dr. DeMars additionally removed cases that were assigned to

him, though they did not do so from any other student, and scheduled him for five intern days,




                                                 6
         Case 5:21-cv-00616-PRW         Document 1       Filed 06/15/21     Page 7 of 15




during which he worked on cases that were not counted towards his case total. At the end of the

rotation, they then penalized him at the end for having too few cases.

         30.   One day before the end of the rotation, Dr. Sypniewski and Dr. DeMars informed

Mr. Rivera-Pierola he was failing the rotation. This was the first indication he was given that he

was failing.

         31.   While Mr. Rivera-Pierola easily passed the written exam for the rotation, the

preceptors raised these false allegations in his final evaluation as the reason for giving him a

12.25/20 in professionalism. This downgrading that resulted in a final grade of 68.317%, just

below the passing grade of 70. But for the downgrading as a result of the false allegations, Mr.

Rivera-Pierola would have passed the rotation.

         32.   Mr. Rivera-Pierola’s final evaluation relayed the above incidents and accused Mr.

Rivera-Pierola of lying about what he had done for patient care on several occasions.

         33.   Despite this assertion, which qualified as an allegation of an academic integrity

violation under both OSU and SMU policy, and the downgrading based on his supposed

dishonesty, no academic integrity complaint was filed and Mr. Rivera-Pierola was never provided

an adequate opportunity to respond to or rebut the allegations that were the basis for his failing

grade.

         34.   Mr. Rivera-Pierola was contacted in mid-March and told that he would need to

appear before the CVM’s Professional Standards Committee (“PSC”) for a dismissal hearing on

March 18.

         35.   Referral to the PSC is a purely academic review, in which the PSC may allow the

student to address the PSC solely to present mitigating circumstances relating to the student’s

performance. The process does not provide the student an opportunity to contest the grade leading




                                                 7
       Case 5:21-cv-00616-PRW           Document 1        Filed 06/15/21      Page 8 of 15




to PSC referral or allegations such as the allegations of dishonestly alleged in his Community

Practice evaluations.

       36.     PSC recommendations are based solely on PSC’s consideration of extenuating or

mitigating circumstances, and PSC does not consider validity of the grading and evaluation of the

preceptors.

       37.     Mr. Rivera-Pierola met with the PSC and did his best to answer the questions posed.

He nonetheless ran out of time to fully explain what occurred and did not have an opportunity to

present his defense.

       38.     The PSC voted unanimously to dismiss Mr. Rivera-Pierola, sending him a letter

dated March 23 which stated as follows:

               The Professional Standards Committee, after meeting and deliberating on
               March 18th, recommended dismissal from the CVM professional program.
               This unanimous decision was based on repeated poor academic
               performance, lack of accountability for clinical errors in multiple rotations,
               recurrent unprofessional behavior, and inability to take constructive
               criticism to improve professional and clinical skills. The Committee did not
               find mitigating circumstances sufficient to explain the concerns above.

               The Committee’s recommendation for dismissal has been accepted by the
               Dean. Per CVM policy, you may file a written appeal to the Dean within
               five working days of receipt of this letter.

       39.     Under OSU’s policies, the PSC makes a recommendation to the Dean, and the Dean

determines whether to accept that recommendation.

       40.     A student may appeal, and the Dean considers whether the basis for appeal “seems

sufficiently substantive.” If so, the Dean refers to the case back to the PSC for the PSC itself to

hear the appeal. After the hearing, the PSC then makes a further recommendation to the Dean,

who again decides whether to accept the decision. The Dean’s second decision is final.




                                                 8
       Case 5:21-cv-00616-PRW           Document 1        Filed 06/15/21     Page 9 of 15




       41.     Mr. Rivera-Pierola filed a timely appeal with the Dean, hoping that by accepting

responsibility for the issues identified by the PSC, he might avoid antagonizing the Dean, and also

included a plan for improving his clinical performance.

       42.     Mr. Rivera-Pierola also mentioned that he had begun to receive counseling by an

on-campus psychologist at OSU, in accordance with the Dean’s recommendation to do the same.

       43.     In the interim, as a result of the COVID-19 pandemic, OSU transitioned to fully

virtual rotations. Mr. Rivera-Pierola passed his small animal surgery rotation, and began his

virtual anesthesiology rotation.

       44.     On April 6, two weeks into his three-week anesthesiology rotation, Mr. Rivera-

Pierola was informed that while the PSC decided to stand by its original decision, the Dean

approved his appeal and he was permitted to stay in the program under Academic Suspension.

However, if he received less than a “C” in any further rotations, he would be dismissed without

any opportunity to appeal the grade or dismissal, despite OSU policies providing for appeals.

       45.     Mr. Rivera-Pierola participated in his anesthesiology rotation’s activities, however

the virtual approach failed to provide students with adequate instruction and anesthesiology

experience.

       46.     Rather than a full day rotation, students were scheduled to meet twice a day, and

the preceptor frequently changed the schedule. The preceptor further was inexperienced in and

unsure of how to operate the technology necessary to provide virtual instruction, and the rotation

was frequently slowed by these issues, significantly detracting from instruction.

       47.     One student in particular, who often had to try to assist the preceptor with these

issues, remarked during the last week that she was tired of the set up.




                                                 9
      Case 5:21-cv-00616-PRW             Document 1       Filed 06/15/21       Page 10 of 15




       48.     The preceptor heard, taking great offense, and abruptly cancelled the rest of the

rotation, nearly three days early in what was only a 21-day rotation.

       49.     As a result of the preceptor’s inability to provide substantive instruction and refusal

to provide the last three days of instruction, the students in the rotation did not receive all of the

information and instruction that should have been included in the rotation.

       50.     However, no steps were taken to modify the exam material to account for these

issues and students were therefore tested on all the material covered in a normal rotation, not the

abbreviated material they were instructed on.

       51.     While Mr. Rivera-Pierola earned a grade of 79% in the clinical component of the

rotation, his exam score was predictably lower, at 66%, given the instructional issues. While this

equated to a C, Mr. Rivera-Pierola was nonetheless given a D as a result of failing to meet the

rotation’s minimum 70% score on the written exam.

       52.     On April 21, OSU informed Mr. Rivera-Pierola that he was dismissed. He was

given no opportunity to appeal the grade or dismissal, or to seek consideration of the inadequate

instruction as a result of the pandemic or the preceptor’s refusal to teach approximately 14% of

the course.

       53.      While Mr. Rivera-Pierola contacted several administrators seeking to present his

case, he was rebuffed.

       54.     OSU’s dismissal was effective only for OSU’s clinical program, and thus Mr.

Rivera-Pierola remained a student at SMU notwithstanding OSU’s dismissal.

       55.     However, when Mr. Rivera-Pierola contacted SMU to ensure that SMU would

independently consider his continuation in the program, briefly summarizing the issues with




                                                 10
       Case 5:21-cv-00616-PRW           Document 1        Filed 06/15/21     Page 11 of 15




OSU’s grading and dismissal as well as Mr. Rivera-Pierola’s ongoing treatment with a

psychologist, SMU instead responded that it too was dismissing him.

        56.     SMU’s indicated that its dismissal was not based on any independent consideration

of the situation, but solely based on OSU’s decision, and informed Mr. Rivera-Pierola that there

was no basis for appeal.

                                  FIRST CAUSE OF ACTION
  BREACH OF CONTRACT AND THE DUTY OF GOOD FAITH AND FAIR DEALING
  Against the Board of Regents for the Oklahoma Agricultural and Mechanical Colleges,
   State of Oklahoma ex rel. Oklahoma State University, and St. Matthew’s University

        57.     Each of the allegations set forth in paragraphs 1 through 56, inclusive, are hereby

incorporated by this reference as if realleged fully herein.

        58.     That courts in Oklahoma and the Tenth Circuit impose a contract on the relationship

between students and universities. Materials actually provided to students may become part of the

agreement.

        59.     That each contract includes an implied duty of good faith and fair dealing.

        60.     That Mr. Rivera-Pierola had a contract with the OSU Defendants in connection

with rights explicitly guaranteed by the policies outlined in the OSU Handbook pursuant to his

entrance into the OSU CVM Year IV program and the Anesthesiology Rotation Course Syllabus.

        61.     That Mr. Rivera-Pierola had a contract with SMU pursuant to his enrollment in

SMU’s School of Veterinary Medicine. Some of the terms of that contract are found in the SMU

Student Handbook (“SMU Handbook”), which applied to all students enrolled at SMU, regardless

of their location.

        62.     That Mr. Rivera-Pierola dutifully complied with the mandates of the contractual

materials governing his relationship with the OSU Defendants and SMU.




                                                 11
       Case 5:21-cv-00616-PRW           Document 1       Filed 06/15/21      Page 12 of 15




        63.     The SMU Handbook provides that, during the student’s program, “Faculty must

test, grade, and review student work in a manner that is fair and reasonable.”

        64.     Where disputes arise students are entitled to file an academic grievance, which

includes an opportunity for three levels of review.

        65.     Further, the SMU Handbook provides for a procedure for academic integrity

violations, including dishonesty, which includes an investigation, formal disciplinary proceedings

and an opportunity for a student to present a complete defense.

        66.     As part of that process, students are given notice of the alleged violation, and an

opportunity to respond, including to identify witnesses, documents and other relevant evidence. A

student is also entitled to appeal.

        67.     SMU additionally promised a course of study including complete clinical rotations

in all necessary areas, lasting for the scheduled duration and covering all necessary material.

        68.     SMU breached its contractual promise and its duty of good faith and fair dealing

when it dismissed Mr. Rivera-Pierola without independent review or appeal, an opportunity for an

academic grievance, or compliance with the disciplinary procedures and an opportunity to rebut

the allegations of dishonesty, and when it failed to ensure that OSU provided a complete

anesthesiology rotation covering all necessary material for the full three weeks, and then dismissed

Mr. Rivera-Pierola based entirely on OSU’s flawed decision.

        69.     The OSU Handbook sets forth the policies applicable to allegations of academic

integrity violations, including the Academic Integrity Policy, for students enrolled in OSU,

including SMU students.

        70.     OSU’s Academic Integrity Policy, which applies to allegations including

“Fabrication of Information,” includes multiple procedural steps and protections, including notice




                                                12
       Case 5:21-cv-00616-PRW            Document 1        Filed 06/15/21      Page 13 of 15




to the student of the allegation, a resolution meeting with the instructor, and, if allegations are not

then resolved, consideration by the Academic Integrity Panel (“AIP”).

        71.    A student has a right to submit documentation and other material in support of their

case to the AIP as well as meet with the AIP, composed of both faculty and students, and the

instructor.

        72.    The appeals process requires the instructor to submit documentation and

information to substantiate their allegations, and make themselves available for a hearing. At the

hearing, the student has the right to another person accompanying them, and to ask questions and

call and question witnesses in support of their case.

        73.    Students are further provided with a final appeal to an appeal panel of independent,

objective members.

        74.    None of these procedures or protections are provided by the PSC process or were

made available to Mr. Rivera-Pierola, and Mr. Rivera-Pierola was never provided with the

opportunity to contest the allegations in the final evaluation about his purported lying and the

resulting lower grade.

        75.    OSU further promised to provide a three-week anesthesiology clinical rotation, in

which all relevant material was covered, as part of an approved clinical rotation program for

veterinary students. Further, the syllabus for the Anesthesiology rotation promised a rotation of

three weeks in length.

        76.    OSU breached its contract when it failed to provide instruction covering all relevant

material as a result of moving to a virtual set up, in which the preceptor was unable to operate the

necessary technology, and when the preceptor abruptly ended the rotation three days early.




                                                  13
       Case 5:21-cv-00616-PRW            Document 1       Filed 06/15/21      Page 14 of 15




        77.     OSU, in failing to abide by its procedures, failing to provide the contracted for

instruction, and dismissing Mr. Rivera-Pierola based on false allegations and his grade in the

abbreviated rotation, acted in bad faith and in breach of its contractual duties.

        78.     As a direct and proximate result of Defendants’ unlawful breaches, Mr. Rivera-

Pierola has suffered and continues to suffer irreparable harm, injury, and damages; including, but

not limited to, monetary damages, time and resources, career opportunities and earning capacity,

mental and emotional distress, anxiety and mental anguish, humiliation and embarrassment, and

loss of personal and professional reputation, all in an amount in excess of Seventy-Five Thousand

Dollars ($75,000.00).

        79.     Mr. Rivera-Pierola is entitled to injunctive and declaratory relief to obtain

readmission to OSU’s CVM program and SMU’s program free from the Defendants’ breaches of

their respective contracts and for an order forbidding all Defendants from further perpetuating any

subsequent breach.

                                  DEMAND FOR JURY TRIAL

        Plaintiff hereby demands a jury trial on all causes of action and claims with respect to

which he has a right to jury trial.

                                      RELIEF REQUESTED

        WHEREFORE, Plaintiff prays for relief as follows:

                1.      For general and compensatory damages in an amount in excess of

                        SEVENTY-FIVE THOUSAND DOLLARS ($75,000.00) to be

                        determined at trial;

                2.      For injunctive and declaratory relief described herein, as the Court

                        deems appropriate;




                                                 14
Case 5:21-cv-00616-PRW         Document 1      Filed 06/15/21    Page 15 of 15




       3.     For pre-judgment and post-judgment interest, as provided by law;

       4.     Such other and further legal and equitable relief as this Court deems

              necessary, just and proper.

Dated this 15th day of June, 2021.
                                     Respectfully Submitted,

                                     LEVINSON, SMITH & HUFFMAN, PC

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                                       15
